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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                        Protective Order

                 v.                                                              20 Cr. 582 (PAC)

 Alberto Baez-Acevedo,

                            Defendant.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16(a)(1)(E), the

Court hereby finds and orders as follows:

       WHEREAS, the Government will make disclosure to the defendant of non-public

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “disclosure material.” The Government’s disclosure material may include

material that (i) affects the privacy and confidentiality of individuals; (ii) would impede, if

prematurely disclosed, the Government’s ongoing investigation of uncharged individuals; (iii)

would risk prejudicial pretrial publicity if publicly disseminated; and (iv) that is not authorized to

be disclosed to the public or disclosed beyond that which is necessary for the defense of this

criminal case.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       1. Disclosure material shall not be disclosed by the defendant or defense counsel, including

any successor counsel (“the defense”) other than as set forth herein, and shall be used by the

defense solely for purposes of defending this action. The defense shall not post any disclosure
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material on any Internet site or network site to which persons other than the parties hereto have

access, and shall not disclose any disclosure material to the media or any third party except as set

forth below.

        2. Disclosure material may be disclosed by counsel to:

            (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action;

            (b) Prospective witnesses for purposes of defending this action.

        3. The Government may authorize, in writing, disclosure of disclosure material beyond that

otherwise permitted by this Order without further Order of this Court.

        4. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. All filings

should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.

        5. Except for disclosure material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all disclosure material,

including the seized ESI disclosure material, within 30 days of the expiration of the period for

direct appeal from any verdict in the above-captioned case; the period of direct appeal from any

order dismissing any of the charges in the above-captioned case; or the granting of any motion

made on behalf of the Government dismissing any charges in the above-captioned case, whichever

date is later.

        6. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

belonged to the defendant.


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